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                       IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF PUERTO RICO



 UNITED STATES OF AMERICA
      Plaintiff

        v.                                               Criminal No. 05-228 (ADC)

 JOSE VALENTIN-FABREGAS (17)
      Defendant


                                          ORDER

      Before the Court is an unopposed Report and Recommendation issued by Magistrate-

Judge Gustavo Gelpí on June 27, 2006. (Docket No. 433.) In said Report and

Recommendation the Magistrate-Judge recommends that: defendant José Valentín-

Fábregas be adjudged guilty of the offenses charged in Count I (21 U.S.C. § 846) inasmuch

as, his plea of guilty was intelligently, knowingly and voluntarily entered.

      Neither party has filed objections to the Magistrate-Judge’s Report and

Recommendation within the time frame provided by the Federal Rules of Criminal Procedure

and this Court’s Local Rules. See Fed. R. Crim. P. 11; 28 U.S.C. § 636(b)(1)(B); D.P.R. Local

Crim. R. 147(b).

      After reviewing the record, the Court agrees with the arguments, factual and legal

conclusions within the Report and Recommendation. Therefore, the Court hereby

APPROVES and ADOPTS the gistrate-Judge’s Report and Recommendation in its entirety.

      Accordingly, a judgment of conviction is to be entered as to Count I of the indictment

in the above-captioned case.
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       This case was referred to the U.S. Probation Office for preparation of a Presentence

Investigation Report on June 27, 2006. The sentencing hearing is set for October 3, 2006

at 2:30 p.m.

       SO ORDERED.

        At San Juan, Puerto Rico, this 4th day of August, 2006.




                                                S/AIDA M. DELGADO-COLON
                                                United States District Judge
